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                               EXHIBIT A
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Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

                   7-Eleven, Inc.                                                                                                                    07/14/2022
                   Casey Pennell Legal Assistant
                   7-Eleven, Inc.
                   3200 Hackberry Road
                   Irving TX 75063



SERVICE OF PROCESS NOTICE
The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.                                                          Item: 2022-1940
Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be
directed to the contact set forth in line 12 below or to the court or government agency where the matter is being heard. IMPORTANT:
All changes or updates to the SOP contact individuals or their contact information must be submitted in writing to
SOPcontact@corpcreations.com. Any changes will become effective upon written confirmation of Corporate Creations.


 1.                           Entity Served:             7-Eleven, Inc.

 2.                          Title of Action:            Jumping Jack Retail II, Inc. vs. 7-Eleven, Inc.

 3.                Document(s) Served:                   Summons
                                                         Complaint

 4.                           Court/Agency:              Broward County 17th Judicial Circuit Court

 5.                            State Served:             Florida

 6.                           Case Number:               CACE22-009796

 7.                               Case Type:             Breach of Contract

 8.                    Method of Service:                Hand Delivered

 9.                          Date Received:              Thursday 07/14/2022

 10.                          Date to Client:            Thursday 07/14/2022

 11.         # Days When Answer Due:                     20                                     CAUTION: Client is solely responsible for verifying the accuracy of the estimated Answer Due
                     Answer Due Date:                    Wednesday 08/03/2022                   Date. To avoid missing a crucial deadline, we recommend immediately confirming in writing
                                                                                                with opposing counsel that the date of the service in their records matches the Date Received.

 12.                             Sop Sender:             Kenneth Mair
               (Name, City, State, and Phone Number)
                                                         Lauderhill, FL
                                                         954-730-0082

 13.              Shipped To Client By:                  Email Only with PDF Link

 14.                    Tracking Number:

 15.                             Handled By:             101

 16.                                      Notes:         None

NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the accuracy of all information. At Corporate Creations, we take pride in developing systems
that effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default
judgment. As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service
of process is valid and effective. It is the role of legal counsel to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate
Creations Network Inc.
                                                       801 US Highway 1 North Palm Beach, FL 33408 Tel: (561) 694-8107 Fax: (561) 694-1639
                                                                                   www.CorporateCreations.com
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